                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                       KNOXVILLE
 Case #: 3:21-cr-129-1                                                        Date: April 7, 2022

               United States of America            vs.           David Bruce Coffey

 PROCEEDINGS: In Person Plea to Information. The defendant was sworn and advised of his
 constitutional rights and of the penalties of the offense charged. A waiver of indictment was filed. The
 Court granted [R.13]. The defendant shall remain release with all previous conditions to apply.

 THE HONORABLE KATHERINE A. CRYTZER, UNITED STATES DISTRICT JUDGE PRESIDING

 Jason Huffaker                            Terri Grandchamp                   Amanda Latham
 Deputy Clerk                              Court Reporter                     Probation Officer

 Gregory Rosenberg                                                            G. Isaacs/A. Mathis
 Asst. U.S. Attorney                                                          Attorney for Defendant

 ☐      No plea agreement filed
       Plea Agreement [R.2] filed on November 16, 2021 ☐ sealed           unsealed
       Defendant was arraigned and specifically advised of his rights pursuant to Rule 11 F.R.C.P.
       Defendant waived reading of the Information                 ☐ Information read
       Defendant pleaded guilty to Counts 1 and 2 of the Information.
 ☐      Government moved to dismiss the remaining counts as to this defendant at sentencing.
       Referred for Presentence Investigative Report.
       DATE SET: Sentencing: September 16, 2022 at 1:00 p.m.
                       Before the Honorable Katherine A. Crytzer, United States District Judge


     • Parties must adhere to Local Rules 83.9.

     • If any witnesses are to be called at sentencing, parties must expressly give notice at least
       fourteen days prior to the sentencing date.


       Defendant to remain on bond
 ☐      Defendant remanded to custody of the U.S. Marshal

 2:02 – 2:47




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